 Case 5:16-cv-02305-JGB-DTB Document 1 Filed 05/23/16 Page 1 of 10 Page ID #:1



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10   and the Plaintiff Class

11                                   UNITED STATES DISTRICT COURT

12                                  EASTERN DISTRICT OF CALIFORNIA

13
14   MARC MARCHIOLI,                                      Case No. 2:16-at-616

15                          Plaintiff,                    CLASS ACTION

16                  v.                                    COMPLAINT

17   PRE-EMPLOY.COM, INC., EISENHOWER
     MEDICAL CENTER, and DOES 1
18   THROUGH 10,

19                          Defendants.

20
21           Representative Plaintiff Marc Marchioli allege as follows:

22                                       JURISDICTION AND VENUE

23           1.     Original and supplemental jurisdiction is conferred on this Court by 28 U.S.C. §1331

24   and 15 U.S.C. § 1681p as this action is based, in large part, on the Fair Credit Reporting Act

25   (“FCRA”) (15 U.S.C. § 1681, et seq.). Venue is proper in the Eastern District of California because

26   Defendant Pre-Employ.com, Inc., (“Pre-Employ”) resides in this District, and because a substantial

27   part of the events, acts and omissions giving rise to the claims asserted herein occurred in this

28   District.

                                                         1
                                                   COMPLAINT
 Case 5:16-cv-02305-JGB-DTB Document 1 Filed 05/23/16 Page 2 of 10 Page ID #:2



 1                                  THE PARTIES AND THE CLASSES

 2          2.      Representative Plaintiff Marc Marchioli is a resident of Pittsburgh, Pennsylvania who

 3   was offered employment in California. Specifically, at all times relevant to this litigation,

 4   Representative Plaintiff was: (a) an applicant for employment and/or an employee of Defendant

 5   Eisenhower Medical Center in California; (b) was a “Consumer” subject to the protections provided

 6   by the FCRA and protected by the California Unfair Competition Law (“UCL”), California Business

 7   and Professions Code § 17200 et seq.; (c) received inadequate notices and disclosures regarding

 8   investigation and reporting on him that was the subject the FCRA and was subject unfair and illegal

 9   business practices governed by the UCL; and (d) was improperly investigated by and reported on by

10   Defendants without the requisite notices, disclosures and authorizations in violation of the FCRA and

11   UCL.

12          3.      Representative Plaintiff alleges on information and belief that Defendant Pre-

13   Employ.com, Inc., (“Pre-Employ”) is a corporation incorporated in California, with its principal place

14   of business in Anderson, California, which is within the judicial district of this Court. At all times

15   relevant to this litigation, Pre-Employ was subject to the FCRA as a Consumer Reporting Agency

16   and/or Investigative Consumer Reporting Agency.

17          4.      Representative Plaintiff alleges on information and belief that Defendant Eisenhower

18   Medical Center (“EMC”) is a not-for-profit corporation incorporated in California, with its principal

19   place of business in Rancho Mirage, California. At all times relevant to this litigation, EMC was a

20   prospective and/or actual employer of Marchioli and similarly situated class members; and was

21   subject to the FCRA as a recipient and user of Consumer/Investigation Reports.

22          5.      Representative Plaintiff is ignorant of the true names and capacities of Defendants

23   sued herein as Does 1 through 20 inclusive, and therefore sues these Defendants by such fictitious

24   names and capacities. Plaintiff will amend this Complaint to allege their true names and capacities

25   when ascertained. Plaintiff is informed and believes and on that basis alleges that each fictitiously-

26   named Defendant is responsible in some manner for the occurrences, acts and omissions herein

27   alleged, and that Plaintiff’s injuries were proximately caused by the conduct of such Defendants.

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                                                    COMPLAINT
 Case 5:16-cv-02305-JGB-DTB Document 1 Filed 05/23/16 Page 3 of 10 Page ID #:3



 1             6.    Representative Plaintiff is informed and believes and thereupon alleges that at all

 2   times material herein, each Defendant was dominated and/or controlled by his, her or its co-

 3   Defendants, each was the agent, representative, and alter ego of the others, and all aided and abetted

 4   the wrongful acts, errors, and omissions of the others. Plaintiff is informed and believes and

 5   thereupon alleges that at all times material herein, each of the Defendants was the agent, employee

 6   and/or joint venturer of, or working in concert with, its, his, or her co-Defendants, and was acting

 7   within the course and scope of such agency, employment, and/or joint venture or concerted activity.

 8   To the extent that said acts, conduct and omissions were perpetrated by certain Defendants, Plaintiff

 9   is informed and believes and thereupon alleges that the remaining Defendant and/or Defendants

10   confirmed and ratified said acts, conduct and omissions, unless noted otherwise. All of the

11   Defendants, including the Doe Defendants, are alleged to be jointly and severally responsible for the

12   damages and harm caused to Representative Plaintiff and the similarly situated Class Members in that

13   each Defendant agreed to participate, and participated, in the furtherance of the objective of the civil

14   wrongs alleged in this Complaint. Whenever and wherever this Complaint refers to any act by a

15   Defendant or Defendants, such allegations and references shall also be deemed to mean the acts and

16   failures to act of each Defendant acting individually, jointly and/or severally, unless noted otherwise.

17                                    CLASS ACTION ALLEGATIONS

18             7.    This is a class action, brought by Plaintiff Marc Marchioli (“Plaintiff” or

19   “Representative Plaintiff”) on behalf of himself and all other similarly situated persons (“Class

20   Members”). Representative Plaintiff and the Class Members are collectively referred to as “the

21   Class”.

22             8.    Each of the Defendants are excluded from the Class.

23             9.    The “Class Period” is five years prior to the date of the filing of this Complaint.

24             10.   “Class Members” are those persons similarly situated to Representative Plaintiff

25   Marchioli who were: (a) investigated by, or reported on, by Pre-Employ regarding actual or potential

26   employment; and/or (b) were interviewed or hired by EMC after investigation or reporting covered

27   by the FCRA.

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                                                         3
                                                    COMPLAINT
 Case 5:16-cv-02305-JGB-DTB Document 1 Filed 05/23/16 Page 4 of 10 Page ID #:4



 1          11.     Class Members were all proximately damaged by the acts, errors, or omissions of one

 2   or more Defendants. Generally, Pre-Employ: (a) failed to obtain requisite notices, disclosures and

 3   authorizations in violation of the FCRA; (b) conducted investigation and/or reporting in violation of

 4   the FCRA; (c) obtained Credit Information in violation of the FCRA; (d) disclosed Credit

 5   Information to employers in violation of the FCRA; and/or (e) violated the UCL. Additionally,

 6   EMC: (a) failed to give notices, made inadequate disclosures, and failed to obtain authorizations from

 7   Representative Plaintiff and Class Member in violation of the FCRA; (b) procured investigation or

 8   reporting on actual or prospective employees in violation of the FCRA; (c) received Credit

 9   Information in violation of the FCRA; and/or (d) violated the UCL.

10          12.     This action is properly brought and maintained under Federal Rule of Civil Procedure

11   23(a) because: (a) the Class is so numerous that joinder of all members as individual plaintiffs is

12   impracticable; (b) there are questions of law or fact common to the Class; (c) the claims of the

13   Representative Plaintiff are typical of the claims of the Class Members; and (d) the Representative

14   Plaintiff will fairly and adequately protect the interests of the Class.

15          13.     With respect to numerosity, on information and belief, Representative Plaintiff alleges

16   that Defendant EMC is a large employer that regularly reviews applications for employment in a

17   variety of positions and has hired hundreds, if not thousands, of employees during the Class Period.

18   Additionally, on information and belief, Representative Plaintiff similarly alleges that Defendant Pre-

19   Employee has reviewed applications for employment regarding hiring hundreds, if not thousands, of

20   employees during the Class Period.

21          14.     With respect to common questions of law or fact, the allegations in this Complaint

22   address primarily the notices, disclosures, authorizations and procedures required of Defendants

23   under exactly the same statutes for each of the Class Members. Accordingly, the claims are all under

24   the same law and address, through violations of the FCRA and UCL by Defendants under the same

25   repeated hiring circumstances, the same facts.

26          15.     With respect to typicality and adequacy of representation, Plaintiff Marchioli’s claims

27   are the same as all of the Class Members. All Defendants failed to provide the requisite notices and

28   disclosures and failed to obtain the requisite authorizations before EMC procured

                                                          4
                                                     COMPLAINT
 Case 5:16-cv-02305-JGB-DTB Document 1 Filed 05/23/16 Page 5 of 10 Page ID #:5



 1   consumer/investigation reports, and Pre-Employ conducted investigations and/or compiled data about

 2   Plaintiff and Class Members. The same conduct violating the same statutes is at issue for all of the

 3   remaining Class Members. Additionally, Plaintiff Marchioli is appropriately situated, willing, and

 4   able to represent the interests of the Class.

 5           16.    This action is also properly brought and maintained under Federal Rule of Civil

 6   Procedure 23(b) because: (a) prosecuting separate actions by individual Class Members would create

 7   a risk of inconsistent or varying adjudications with respect to individual class members that would

 8   establish incompatible standards of conduct for the Defendants; (b) adjudications with respect to

 9   individual Class Members, as a practical matter, would be dispositive of the interests of the other

10   members not parties to the individual adjudications and/or would substantially impair or impede the

11   ability of other Class Members to protect their interests; or (c) questions of law or fact common to

12   Class Members predominate over any questions affecting only individual members, and a class action

13   is superior to other available methods for fairly and efficiently adjudicating the controversy between

14   the parties.

15           17.    With respect to the grounds for class action under Federal Rule of Civil Procedure

16   23(b), the proper way to address the statutory violations by Defendants, particularly those involving

17   defective procedures to ensure compliance with the FCRA and UCL, is through this single action on

18   behalf of all similarly situated Class Members. Further, through a proscriptive injunction, correction

19   of Defendants’ ongoing procedures can be obtained on behalf of all members of the Class.

20   Additionally, because the statutory damages are limited to $1,000 or less -- making individual claims

21   impractical -- a class action is the only appropriate form of action to address these duplicative small

22   claims held by the large group of Class Members.

23                                        FIRST CLAIM FOR RELIEF

24         VIOLATION OF FEDERAL CREDIT REPORTING ACT (15 USC §1681a, ET SEQ.)

25                                      AGAINST ALL DEFENDANTS

26           18.    Representative Plaintiff incorporates by reference and re-allege the foregoing

27   paragraphs of this Complaint.

28   ///

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                                                     COMPLAINT
 Case 5:16-cv-02305-JGB-DTB Document 1 Filed 05/23/16 Page 6 of 10 Page ID #:6



 1          19.    During the Class Period, Defendants EMC, Pre-Employ, and Does 1 through 20 have

 2   violated the Federal Credit Reporting Act in 15 U.S.C. § 1681a, et seq. (“FCRA”) and Plaintiff

 3   Marchioli and the Class Members were harmed and damaged in several ways including, in particular:

 4          (a)    Defendants procuring or causing the procurement of credit reports about Plaintiff and

 5                 Class Members without: (i) a clear and conspicuous disclosure to the Class beforehand

 6                 that consists solely of the disclosure that a consumer report may be obtained for

 7                 employment purposes; and (ii) authorization from the Class in writing to the

 8                 procurement as required by 15 U.S.C. § 1681b(b)(2)(A)

 9          (b)    Defendants failing to obtain certification that employers made proper disclosures to

10                 Plaintiff and Class Members as “consumers” as required by 15 U.S.C. §

11                 1681b(b)(1)(A)(i));

12          (c)    Defendants failing to provide certification that employers had made proper disclosures

13                 to Plaintiff and Class Members as “consumers” as required by 15 U.S.C. §

14                 1681b(b)(1)(A)(i));

15          (d)    Defendants failing to obtain from employers certification that the consumer reports

16                 about Plaintiff and Class Members will not be used in violation of any applicable

17                 Federal or State equal employment opportunity law or regulation as required by 15

18                 U.S.C. § 1681b(b)(1)(A)(ii);

19          (e)    Defendants failing to provide certification that the consumer reports about Plaintiff

20                 and Class Members will not be used in violation of any applicable Federal or State

21                 equal employment opportunity law or regulation as required by 15 U.S.C. §

22                 1681b(b)(1)(A)(ii);

23          (f)    Defendants providing consumer reports about Plaintiff and Class Members without a

24                 summary of the consumer’s rights as required by 15 U.S.C. § 1681b(b)(1)(B);

25          (g)    Defendants failing to provide a description in writing of the rights of Plaintiff and

26                 Class Members as “consumers” as required by 15 U.S.C. § 1681b(b)(3)(ii)

27          (h)    Defendants obtaining or providing consumer reports about Plaintiff and Class

28                 Members without authorization or certification as required by 15 U.S.C. § 1681b(f);

                                                       6
                                                  COMPLAINT
 Case 5:16-cv-02305-JGB-DTB Document 1 Filed 05/23/16 Page 7 of 10 Page ID #:7



 1          (i)     Defendants using or obtaining consumer reports about Plaintiff and Class Members

 2                  without authorization or certification as required by 15 U.S.C. § 1681b(f);

 3          (j)     Defendants preparing consumer reports about Plaintiff and Class Members without

 4                  authorization or certification as required by 15 U.S.C. § 1681d(a), § 1681d(d)(1), §

 5                  1681d(d)(2);

 6          (k)     Defendants procuring consumer reports about Plaintiff and Class without authorization

 7                  or certification as required by 15 U.S.C. § 1681d(a);

 8          (l)     Defendants investigating, preparing and delivering consumer reports about Plaintiff

 9                  and Class Members in violation of 15 U.S.C. § 1681e(a) and § 1681e(d);

10          (m)     Defendants investigating, preparing and delivering consumer reports about Plaintiff

11                  and Class Members in violation of 15 U.S.C. § 1681k(a); and

12          (n)     Defendants failing institute and maintain reasonable procedures to ensure compliance

13                  with the FCRA.

14          20.     Defendants’ actions, errors and omissions as alleged herein were willful within the

15   meaning of 15 U.S.C. § 1681n.

16          21.     In the alternative, Defendants actions, errors and omissions were negligent with the

17   meaning of 15 U.S.C. § 1681o.

18          22.     As a result of Defendants’ actions, errors, and omissions alleged herein,

19   Representative Plaintiff and Class Members were damaged and are entitled to statutory damages and

20   punitive damages under the FCRA.

21          23.     Representative Plaintiff seeks injunctive relief for himself and Class Members under

22   the FCRA prohibiting Defendants from violating the FCRA in the future and requiring them to

23   employ appropriate procedures to ensure compliance with the Act, including the notice, disclosure,

24   authorization, investigation and reporting requirements. Absent an injunction, Defendants will

25   continue to violate the FCRA causing consumers, namely Plaintiff and Class Members, current and

26   future harm.

27   ///

28   ///

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                                                  COMPLAINT
 Case 5:16-cv-02305-JGB-DTB Document 1 Filed 05/23/16 Page 8 of 10 Page ID #:8



 1                                     SECOND CLAIM FOR RELIEF

 2         UNFAIR BUSINESS PRACTICES UNDER THE UNFAIR COMPETITION LAW

 3                (CALIFORNIA BUSINESS & PROFESSIONS CODE § 17200 ET SEQ.)

 4                                     AGAINST ALL DEFENDANTS

 5          24.     Representative Plaintiffs incorporate by reference and re-allege the foregoing

 6   paragraphs of this Complaint.

 7          25.     California’s Unfair Competition Law (“UCL”), California Business and Professions

 8   Code § 17200 et seq., prohibits unfair competition in the form of any unlawful, unfair, deceptive, or

 9   fraudulent business practices.

10          26.     During the Class Period, Defendants committed unlawful acts within the meaning of

11   the UCL. Defendants’ unlawful acts include, without limitation, violation of the FCRA as alleged

12   above. Defendants’ acts, errors, and omissions regarding violations of the FCRA constitute unlawful

13   or fraudulent business practices under the UCL. Specifically, Defendants engaged in business

14   activities, including investigating, collecting information, reporting, evaluating and/or hiring of

15   Representative Plaintiff and Class Members, while violating the legal mandates of the FCRA

16   regarding the manner of conducting those business activities.

17          27.     Defendants’ failure to abide by the law and comply with the FCRA has also harmed

18   consumers, namely Plaintiff and Class Members, whose privacy has been invaded and private

19   information has been disseminated in violation of the very laws created to avoid such harm. Such

20   conduct violates the UCL.

21          28.     Further, Defendants’ failure to abide by the law and comply with the FCRA -- which

22   are binding on both Defendants and their competitors -- has engendered an unfair competitive

23   advantage in favor of Defendants, thereby constituting an unfair anti-competitive business practice

24   within the provisions of the UCL.

25          29.     The UCL, including California Business and Professions Code § 17203, authorizes the

26   Court to disgorge profits and restore any person in interest in the matter any money or property, real

27   or personal, which may have been acquired by the means of unfair competition. Representative

28   Plaintiff and Class Members suffered invasion of their privacy regarding their personal information

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                                                    COMPLAINT
 Case 5:16-cv-02305-JGB-DTB Document 1 Filed 05/23/16 Page 9 of 10 Page ID #:9



 1   due to Defendants’ failure to comply with the notice, disclosure, investigation, and reporting

 2   provisions of the FCRA before investigating Representative Plaintiff and the Class Members,

 3   collecting data, and reporting on that information. Representative Plaintiff and Class Members are

 4   entitled to restitution and disgorgement of profits for all sums obtained by Defendants in their

 5   business practices that were accomplished while using the unfair business practices alleged herein.

 6          30.     Where, as here, the named Representative Plaintiff has suffered his own injury due to

 7   Defendants’ unlawful business practices and the procedures for class certification have been

 8   followed, injunctive relief is authorized by the UCL, including by California Business and

 9   Professions Code § 17203. Accordingly, the UCL claims herein may be pursued in the proposed

10   class action on behalf of Representative Plaintiff and Class Members.

11                                                 PRAYER

12          Wherefore, Representative Plaintiff, on behalf of Representative Plaintiff and the Class

13   Members, seeks recovery of the following:

14          (a)     Certification of the Class, including any necessary sub-class(es);

15          (b)     Statutory damages for Representative Plaintiff and each Class Members of not less

16                  than $100 and not more than $1,000 from each Defendant for violations of the FCRA

17                  (15 U.S.C. § 1681n);

18          (c)     Punitive damages for Representative Plaintiff and Class Members pursuant to the

19                  FCRA (including 15 U.S.C. § 1681n);

20          (d)     For restitution and disgorgement of profits to Representative Plaintiff and Class

21                  Members pursuant to the UCL (CAL. BUS. & PROF. CODE §§ 17200-17208);

22          (e)     Injunctive relief for Representative Plaintiff and Class Members under the FCRA and

23                  UCL in the form of an injunction requiring Defendants in the future to procure

24                  consumer reports, conduct investigations, and/or provide consumer/investigation

25                  reports only in compliance with FCRA regarding the requisite notices, disclosures,

26                  investigations, authorizations and procedures;

27          (f)     Attorney fees and costs, including class action fees, pursuant to FCRA (including 15

28                  U.S.C. § 1681n and § 1681o);

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                                                   COMPLAINT
Case 5:16-cv-02305-JGB-DTB Document 1 Filed 05/23/16 Page 10 of 10 Page ID #:10



 1         (g)    Costs of suit herein; and

 2         (h)    Such other and further relief as the Court may deem proper.

 3
 4                                     DEMAND FOR JURY TRIAL

 5         Plaintiff hereby demands trial by jury of all issues so triable.

 6
 7   Dated: May 23, 2016                          ROSSI & MACDONALD
                                                  A PROFESSIONAL CORPORATION
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10                                                By: ____________________________
                                                         Duncan MacDonald
11                                                Attorneys for Plaintiffs
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